       Case 3:10-cr-02347-WQH                    Document 159           Filed 02/23/16                PageID.779                   Page 1 of 2

     "'AO 245D    (Rev. 3/0 l) Judgment in a Criminal Case for Revocations                                                   --<   !


                  Sheet 1                                                                                                          \

                                                                                                                                              Wi:    ?n
                                          UNITED STATES DISTRICT COURT Zl1li                                                       J?3        \' __' c ..




                     SOUTHERN                                     District of                                   CALIFORNIA·

                   UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE 711
                                    V.                                     (For Revocation of Probation or Supervised Release)
                  JOSE ALBERTO TAMAYO (2)                                  (For Offenses Committed On or After November I, 1987)


                                                                           Case Number: IOCR2347-WQH
                                                                           FRANK MORELL, CIA
                                                                           Defendant's Attorney
    REGISTRA nON No. 20469298

D
    THE DEFENDANT:
    1£1 admitted guilt to violation ofallegation(s) No.   ...:3:..:,...:4,::.5_ _ _ _ _ _ _ _ _ _ __


     D was found in violation of allegation(s) No.                                                  after denial of guilt.
    ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following allegation(s):


    Allegation Number                    Nature of Violation
            3-5            Unlawful use of controlled substance (nv3)




       Supervised Release      is revoked and the defendant is sentenced as provided in pages 2 through               2            of this judgment.
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


             IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notify the court and UOlted States attorney of any material change in the
    defendant's economic circumstances.

                                                                           FEBRUARY 22, 2016
                                                                          Date of Imposition of Sentence




                                                                           HON. WILLIAM Q. HAY
                                                                           UNITED STATES DISTRICT JUDGE




                                                                                                                                       IOCR2347-WQH
       Case 3:10-cr-02347-WQH                        Document 159         Filed 02/23/16         PageID.780             Page 2 of 2
AO 245B      (Rev. 9/00) Judgment in Criminal Case
             Sheet 2 - Imprisonment

                                                                                                   Judgment - Page _....;;.2__ of   2
DEFENDANT: JOSE ALBERTO TAMAYO (2)
CASE NUMBER: lOCR2347-WQH
                                                             IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          14 months




      o   The court makes the following recommendations to the Bureau of Prisons:




      D The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:

            Oat                                      D·m.      D.m.        on
                as notified by the United States Marshal.

      DThe defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           Dbefure ______________________________________________________

           D    as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.

                                                                  RETURN
 I have executed this judgment as follows:

          Defendant delivered on                                                      to

 at                                                    with a certified copy of this judgment.


                                                                                                 UNITED STATES MARSHAL


                                                                        By ________~~~~~~~~~~--------
                                                                                            DEPUTY UNITED STATES MARSHAL




                                                                                                                             lOCR2347-WQH
